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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,          )
                                    )
                        Plaintiff,  )
                                    )
           vs.                      )              CRIMINAL NO. 06-CR-30098-DRH
                                    )
 AJIT TRIKHA, M.D., and             )
 TRX HEALTH SYSTEMS, P.C.,          )
                                    )
                        Defendants. )



                                           ORDER

               Upon Motion of the Government, the Court hereby dismisses with prejudice Counts

 1 and 2 of the Superseding Indictment, as well as Count 4 of the Superseding Indictment, as to

 defendant TRX Health Systems, PC only.

        SO ORDERED.

        DATE: April 4, 2008.




                                                   /s/      DavidRHerndon
                                                   DAVID R. HERNDON, Chief Judge
                                                   United States District Court
